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AO 450 (Rev. 5/85) Judgment in a Civil Case r




                                           United States District Court
                                                      WESTERN DISTRICT OF WASHINGTON


            DEAN ROYER,

                                        Petitioner,
                                                                             JUDGMENT IN A CIVIL CASE
                                     v.

            STEVE SINCLAIR,
                         Respondent                                    CASE NUMBER: C08-5642FDB


_____ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
      rendered its verdict.

X        Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
          decision has been rendered.


 IT IS ORDERED AND ADJUDGED



            1. The court adopts the Report and Recommendation.

            2. The petition is DISMISSED AS TIME BARRED.




March 20, 2009                                                                  BRUCE RIFKIN
                                                                                         Clerk

                                                                                      /s/ Pat LeFrois
                                                                             _______________________________
                                                                                           Deputy Clerk
